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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

AMERICAN FEDERATION OF LABOR
AND CONGRESS OF INDUSTRIAL
ORGANIZATIONS,
815 Black Lives Matter Plaza NW,
Washington, DC 20006.

AMERICAN FEDERATION OF
GOVERNMENT EMPLOYEES, AFL-
CIO,
80 F Street NW,
Washington, D.C. 20001,

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO,                        Case No. 1:25-cv-00339
1625 L Street, NW,
Washington, D.C. 20036,

SERVICE EMPLOYEES
INTERNATIONAL UNION, AFL-CIO,
1800 Massachusetts Ave. NW,
Washington, DC 20036,

COMMUNICATION WORKERS OF
AMERICA, AFL-CIO
501 3rd Street, NW, 6th Floor
Washington, DC 20001,

ECONOMIC POLICY INSTITUTE
1225 I St NW #600
Washington, DC 20005

                Plaintiffs,

                    vs.

DEPARTMENT OF LABOR
200 Constitution Ave., NW,
Washington, DC 20210

VINCE MICONE, in his official capacity
as Acting Secretary, Department of Labor
200 Constitution Ave., NW,

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 Washington, DC 20210

 U.S. DIGITAL SERVICE (U.S. DOGE
 SERVICE)
 736 Jackson Pl NW,
 Washington, DC 20503

 U.S. DOGE SERVICE TEMPORARY
 ORGANIZATION
 736 Jackson Pl NW,
 Washington, DC 20503

                 Defendants.

         PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

       Pursuant to Local Civil Rule 65.1(a), Plaintiffs American Federation of Labor and

Congress of Industrial Organizations (“AFL-CIO”), American Federation of Government

Employees (“AFGE”), American Federation of State, County & Municipal Employees, AFL-

CIO (“AFSCME”), Service Employees International Union, AFL-CIO (“SEIU”),

Communications Workers of America, AFL-CIO (“CWA”), and Economic Policy Institute

(“EPI”) hereby move for a temporary restraining order (1) enjoining the Department of Labor

from granting DOGE-affiliated personnel access to Department of Labor systems or information,

except as consistent with all applicable law, or otherwise allowing DOGE-affiliated personnel to

take action in excess of statutory authority; (2) enjoining all Defendants from taking any adverse

personnel action against any employee who refuses to provide DOGE-affiliated personnel with

unlawful access to Department of Labor systems or information; and (3) enjoining all

Defendants from providing any person with non-public Department of Labor information or

access to such systems or information regarding his or her business interests or direct

competitors to his or her business interests; and (4) requiring all Defendants to file a status report

within 24 hours of the issuance of this order indicating whether any DOGE-affiliated personnel


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have access to any Department of Labor systems, including which personnel have access to

which systems, to be submitted every two weeks thereafter for 12 weeks, and confirming

compliance with this order.

       Pursuant to Local Civil Rule 65.1(a), at 12:41 p.m. on February 5, 2025, counsel for

Plaintiffs emailed the three Assistant Directors for the Federal Programs Branch of the

Department of Justice to provide actual notice that they would file a new complaint accompanied

by a motion for a temporary restraining order with respect to DOGE’s access to the Department.

The Department of Justice acknowledged receipt of this notice at 12:54 p.m.

       Counsel emailed the three Assistant Directors of the Federal Programs Branch

immediately prior to making this application to the Court, and provided them with electronic

copies of the complaint, motion for temporary restraining order, and accompanying brief,

declarations, and proposed order via e-mail before completing this electronic filing.

       Plaintiffs respectfully request relief before 5 pm today, February 5, 2025.


Dated: February 5, 2025
                                              Respectfully submitted,

                                              /s/ Mark B. Samburg
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                                              Benjamin Seel (D.C. Bar No. 1035286)
                                              Rachel F. Homer (D.C. Bar No. 1045077)
                                              Robin F. Thurston (D.C. Bar No. 462679)
                                              Somil B. Trivedi (D.C. Bar No. 1617967)
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                                              Fax: (202) 796-4426
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                             International Union


                             *motion to appear pro hac vice forthcoming



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